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 1                                                               The Honorable Ricardo S. Martinez

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   STATE OF WASHINGTON,                               NO. 2:21-cv-00728-RSM

10                              Plaintiff,              DECLARATION OF HEIDI
                                                        ANDERSON IN SUPPORT OF
11   v.                                                 STATE’S REPLY ON ITS MOTION
                                                        TO COMPEL AND FOR RELIEF
12   LANDMARK TECHNOLOGY A, LLC,                        FROM DEADLINES TO ADDRESS
     and RAYMOND MERCADO,                               POTENTIAL DISCOVERY
13   individually,                                      MISCONDUCT
                      Defendants.
14                                                      NOTE ON MOTION CALENDAR:
                                                        Wednesday, July 24, 2024
15

16          I, Heidi C. Anderson, declare as follows:

17          1.      I am an Assistant Attorney General in the Consumer Protection Division of the

18   Washington State Attorney General’s Office. I am one of the attorneys of record for the Plaintiff

19   State of Washington in the above-captioned matter. I am licensed to practice law in the State of

20   Washington and am an active member in good standing of the WSBA. I make this declaration

21   based on my own personal knowledge.

22          2.      On July 9, 2024, at approximately 1:15 PM, I left a voicemail for Justin Walsh,

23   counsel for Defendants in this matter. In that voicemail, I asked him to call me to discuss

24   potential options for addressing imminently scheduled depositions in this case, in light of the

25   fact the parties had not yet received guidance from the Court regarding Plaintiff’s Motion to

26   Compel and For Relief From Deadlines to Address Potential Discovery Misconduct (Motion).
       REPLY DECLARATION OF HEIDI                                       ATTORNEY GENERAL OF WASHINGTON
                                                                             Consumer Protection Division
       ANDERSON IN SUPPORT OF STATE’S                                        800 Fifth Avenue, Suite 2000
       MOTION TO COMPEL AND FOR RELIEF                                           Seattle, WA 98104
       FROM DEADLINES                                                               (206) 464-7744
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 1          3.      Later that day, at around 4:00 PM, I received a call from Mr. Walsh and his

 2   colleague, James Ware. During that call, I referenced the fact we had not yet heard from the

 3   Court regarding Plaintiff’s Motion, and the depositions scheduled for that coming Friday (July

 4   12) and for the following Monday and Tuesday (July 15-16) in North Carolina. I then proceeded

 5   to outline three potential options in the event the Court did not rule before Thursday, July 11: (a)

 6   go forward with the depositions as scheduled pending a ruling by the Court, (b) continue the

 7   upcoming depositions by a couple of weeks to allow the Court time to consider the Motion, in

 8   part to save the parties from incurring unnecessary costs, and (c) discuss more broadly an

 9   amended case schedule to allow time for Plaintiff’s Motion to be heard and for additional

10   discovery in light of Defendant’s late disclosure of documents. Counsel for Defendants indicated

11   that option b—setting over pending depositions to some date after the noting date on the

12   Motion—was a non-starter, but that he would speak with his client and get back to me. Before

13   ending the call, I indicated that we were also open to other options for addressing the pending

14   depositions, and that we would be willing to explore any of the three options. Before we got off

15   the call, I also noted that I would be in a deposition in another matter on July 10.

16          4.      A short time after this call, I sent an email to Defendants’ counsel, in part to

17   briefly summarize our conversation. Attached as Exhibit U is a copy of that email.

18          5.      On July 10, I received an email from Mr. Walsh during a break in my deposition.

19   See Dkt. #95-18. Mr. Walsh thereafter reached out to my colleagues on this case via email, and

20   my colleague, Bob Hyde, spoke with him on the telephone. Id. I was later informed by Mr. Hyde

21   that, during that call, Mr. Walsh indicated that his clients were interested in exploring a

22   continuance of the case schedule, including a rescheduling of pending depositions.

23          6.      Later that afternoon, at approximately 4:12 PM on July 10, our office received

24   ECF notice of the Court’s order on our Motion. Approximately two hours later, after reviewing

25   the Order, I sent Mr. Walsh the email attached as part of Exhibit 18 to his declaration. See id.

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       REPLY DECLARATION OF HEIDI                                         ATTORNEY GENERAL OF WASHINGTON
                                                                               Consumer Protection Division
       ANDERSON IN SUPPORT OF STATE’S                                          800 Fifth Avenue, Suite 2000
       MOTION TO COMPEL AND FOR RELIEF                                             Seattle, WA 98104
       FROM DEADLINES                                                                 (206) 464-7744
       (2:21-cv-00728-RSM) - 2
            Case 2:21-cv-00728-RSM Document 99 Filed 07/24/24 Page 3 of 4




 1          I declare, under penalty of perjury under the laws of the State of Washington, that the

 2   foregoing is true and correct.

 3          DATED this 24th day of July, 2024, at Seattle, Washington.

 4

 5                                               s/ Heidi Anderson
                                                 HEIDI ANDERSON, WSBA No. 37603
 6                                               Assistant Attorney General
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       REPLY DECLARATION OF HEIDI                                     ATTORNEY GENERAL OF WASHINGTON
                                                                           Consumer Protection Division
       ANDERSON IN SUPPORT OF STATE’S                                      800 Fifth Avenue, Suite 2000
       MOTION TO COMPEL AND FOR RELIEF                                         Seattle, WA 98104
       FROM DEADLINES                                                             (206) 464-7744
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            Case 2:21-cv-00728-RSM Document 99 Filed 07/24/24 Page 4 of 4




 1                                    CERTIFICATE OF SERVICE
 2          I certify that I caused a copy of the foregoing to be served on all counsel of record via

 3   the ECF system.

 4          I certify, under penalty of perjury under the laws of the State of Washington, that the

 5   foregoing is true and correct.

 6          DATED this 24th day of July, 2024, at Seattle, Washington.

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 8
                                                 s/ Heidi Anderson
 9                                               HEIDI ANDERSON, WSBA No. 37603
                                                 Assistant Attorney General
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       REPLY DECLARATION OF HEIDI                                      ATTORNEY GENERAL OF WASHINGTON
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